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                                                  May 9, 2024


By ECF
The Honorable Brian M. Cogan
United States District Judge
United States District Court
225 Cadman Plaza East
Brooklyn New York 11201

                               Re:     United States v. Rashawnee Gray
                                       23-CR-118 (BMC)


Dear Judge Cogan:

        I write, with the government’s consent, to request an adjournment of the sentencing, which
is calendared for May 21, 2024. I make this request because I am still engaged in trial before Your
Honor in U.S. v. Ayers, et al., 20-CR-239 (BMC), which is likely to continue into that week.

        I am requesting that Mr. Gray’s sentencing be reset to the week of June 24, if available, or
to the soonest available date thereafter.

       I thank the Court for its consideration.

                                                  Respectfully Submitted,
                                                             /s/
                                                  Kannan Sundaram
                                                  Assistant Federal Defender
                                                  (646) 588-8311

cc:    Andrew D. Wang
       Assistant U.S. Attorney
